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 UNITED STATES DISTRICT COURT
 EASTERN DISTRICT OF NEW YORK
 ---------------------------------------------------------- X
  HAITIAN EVANGELICAL CLERGY                                :
  ASSOCIATION, SERVICE EMPLOYEES                            :
  INTERNATIONAL UNION - LOCAL 32BJ, : MEMORANDUM DECISION AND
  SABINA BADIO FLORIAL,                                     : ORDER TO SHOW CAUSE
  YOUDELAINE DORCIN, ROBERT JEAN :
  ALIX ERINAC, RACHELLE GUIRAND,                            : 25-cv-1464 (BMC)
  DIEU YOLNICK JEUNE CADET,                                 :
  AUDOINE AMAZAN, GERALD                                    :
  MICHAUD, NADEGE JOSEPH MICHAUD, :
  and MARIE WILDRIGUE ERINAC MIOT, :
                                                            :
                                      Plaintiffs,           :
                                                            :
                        - against -                         :
                                                            :
  DONALD J. TRUMP, in his official capacity :
  as President of the United States; UNITED                 :
  STATES OF AMERICA; THE                                    :
  DEPARTMENT OF HOMELAND                                    :
  SECURITY; and KRISTI NOEM, in her                         :
  official capacity as Secretary of Homeland                :
  Security,                                                 :
                                                            :
                                      Defendants.           :
                                                            :
 ---------------------------------------------------------- X

 COGAN, District Judge.

        This case arises out of Secretary of Homeland Security Kristi Noem’s “partial vacatur” of

 Haiti’s Temporary Protected Status (“TPS”) designation. TPS is a humanitarian program,

 codified at 8 U.S.C. § 1254a, that provides temporary relief from removal and work

 authorization to certain aliens present in the United States who cannot safely return to their

 country of nationality due to armed conflict, a natural disaster, or other extraordinary and

 temporary conditions.
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        Plaintiffs are nine individual Haitian nationals who are beneficiaries of TPS and two

 associations with Haitian beneficiaries of TPS as members. They have moved for partial

 summary judgment on their claims that Secretary Noem’s partial vacatur is reviewable by this

 Court and that it was ultra vires, requiring it to be set aside pursuant to 5 U.S.C. § 706(2).

 Plaintiffs have also moved to postpone Secretary Noem’s partial vacatur pending final resolution

 of this case pursuant to 5 U.S.C. § 705. The Government opposes these motions and has filed a

 motion to dismiss for lack of jurisdiction and failure to state a claim.

        Plaintiffs’ motions for postponement of the partial vacatur and partial summary judgment

 are granted. The Government’s motion to dismiss is denied in part, and plaintiffs are ordered to

 show cause why their remaining claims are not moot.

                                          BACKGROUND

        The Department of Homeland Security first designated Haiti for TPS status in 2010, after

 Haiti was struck by a 7.0 magnitude earthquake. The Department subsequently extended this

 designation and redesignated Haiti for TPS status multiple times based on continuing harms from

 the earthquake. In 2018, the Department of Homeland Security published a notice in the Federal

 Register terminating Haiti’s TPS designation. However, a judge in this district enjoined the

 Department’s termination, finding that plaintiffs were likely to succeed on the merits of their

 claim that the termination violated the Administrative Procedure Act (“APA”) because it was

 “not in accordance with the law,” arbitrary and capricious, and based on a pretextual rationale.

 Saget v. Trump, 375 F. Supp. 3d 280, 345 (E.D.N.Y. 2019).

        The Department of Homeland Security appealed that decision, but after a change in

 administration, withdrew the appeal and once again extended Haiti’s TPS designation. Haiti’s

 TPS designation was most recently extended in July 2024 for 18 months due to gang violence;

 political unrest and corruption; a 7.2 magnitude earthquake that struck Haiti in August 2021 and


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 subsequent flooding and landslides; food insecurity; a cholera outbreak that, as of January 2024,

 had infected approximately 73,000 Haitians; lack of healthcare resources; and a decimated

 economy (the “July 2024 extension”). 89 Fed. Reg. 54484 (July 1, 2024). The July 2024

 extension extended Haiti’s TPS designation through February 3, 2026. Id.

          On February 24, 2025, Secretary Noem issued a “partial vacatur” of the July 2024

 extension, such that Haiti’s TPS designation would expire on August 3, 2025, instead of

 February 3, 2026. 90 Fed. Reg. 10511 (Feb. 24, 2025). In Secretary Noem’s notice of the partial

 vacatur in the Federal Register, she stated that she “intends to review the Haiti TPS designation

 by June 4, 2025.” Secretary Noem published notice of termination of Haiti’s TPS designation in

 the Federal Register on July 1, 2025, effective September 2, 2025. 90 Fed. Reg. 28760 (July 1,

 2025).

                                            LEGAL STANDARD

          The TPS statute, codified at 8 U.S.C. § 1254a, provides that immigrants from designated

 countries may remain in the United States and receive work authorization if the Secretary of

 Homeland Security, 1 “after consultation with appropriate agencies of the Government,” finds

 that “there is an ongoing armed conflict within the state” that “would pose a serious threat to

 [the] personal safety” of returning aliens; “there has been an earthquake, flood, drought,

 epidemic, or other environmental disaster in the state” and “the foreign state is unable,

 temporarily, to handle adequately the return to the state of aliens who are nationals of the state;”

 or there are “extraordinary and temporary conditions in the foreign state that prevent aliens who

 are nationals of the state from returning to the state in safety, unless the [Secretary] finds that



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  The TPS statute is written as vesting power in the Attorney General. See, e.g., 8 U.S.C. § 1254a(b)(1). Congress
 has transferred authority related to TPS from the Attorney General to the Secretary of Homeland Security. See 8
 U.S.C. § 1103; 6 U.S.C. § 557.



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 permitting the aliens to remain temporarily in the United States is contrary to the national interest

 of the United States.” 8 U.S.C. § 1254a(b)(1). The Secretary’s designation of a country for TPS

 lasts for a “period, specified by the [Secretary of Homeland Security], of not less than 6 months

 and not more than 18 months.” 8 U.S.C. § 1254a(b)(2)(B).

         “At least 60 days before end of the initial period of designation,” the Secretary of

 Homeland Security, “after consultation with appropriate agencies of the Government, shall

 review the conditions in the foreign state” to “determine whether the conditions for such

 designation under this subsection continue to be met.” 8 U.S.C. § 1254a(b)(3)(A). If the

 Secretary does not make such a determination, the country’s TPS designation is automatically

 extended “for an additional period of 6 months (or, in the discretion of the [Secretary], a period

 of 12 or 18 months).” 8 U.S.C. § 1254a(b)(3)(C). If the Secretary determines that the conditions

 are no longer met, the Secretary “shall terminate the designation by publishing notice in the

 Federal Register of the determination . . . (including the basis for the determination). Such

 termination . . . shall not be effective earlier than 60 days after the date the notice is published or

 . . . the expiration of the most recent previous extension,” whichever is later. 8 U.S.C. §

 1254a(b)(3)(B). The TPS statute provides that “[t]here is no judicial review of any

 determination of the [Secretary of Homeland Security] with respect to the designation, or

 termination or extension of a designation, of a foreign state under this subsection.” 8 U.S.C. §

 1254a(b)(5).

         Under the APA, courts must “hold unlawful and set aside” an agency action if it falls into

 one of the categories listed in 5 U.S.C. § 706(2), including that the action is: “arbitrary,

 capricious, an abuse of discretion, or otherwise not in accordance with the law;” “in excess of

 statutory jurisdiction, authority, or limitations, or short of statutory right;” or “without




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 observance of procedure required by law.” In addition, the APA provides that, while the review

 of an agency action is ongoing, the reviewing court “may issue all necessary and appropriate

 process to postpone the effective date of an agency action or to preserve status or rights” “to the

 extent necessary to prevent irreparable injury.” 5 U.S.C. § 705.

                                            DISCUSSION

 I.      Standing and Ripeness

         Courts will dismiss an action for lack of subject matter jurisdiction pursuant to Federal

 Rule of Civil Procedure 12(b)(1) “when the district court lacks the statutory or constitutional

 power to adjudicate it.” Doyle v. Midland Credit Mgmt., Inc., 722 F.3d 78, 80 (2d Cir. 2013)

 (quotation omitted). “Under Article III of the U.S. Constitution, ‘[t]he judicial Power of the

 United States’ extends only to certain ‘Cases’ and ‘Controversies.’” Lacewell v. Off. of

 Comptroller of Currency, 999 F.3d 130, 141 (2d Cir. 2021) (quoting U.S. Const. art. III §§ 1-2).

 “To satisfy the Constitution’s ‘case-or-controversy requirement,’ a plaintiff in federal court

 ‘must establish that they have standing to sue.’” Id. (quoting Clapper v. Amnesty Int’l USA, 568

 U.S. 398, 408 (2013)). To establish standing, “[a] plaintiff must have (1) suffered an injury in

 fact, (2) that is fairly traceable to the challenged conduct of the defendant, and (3) that is likely to

 be redressed by a favorable judicial decision.” Spokeo, Inc. v. Robins, 578 U.S. 330, 338 (2016)

 (citations omitted).

         To be a justiciable case or controversy, a plaintiff’s claim must also be ripe. “In the

 administrative context, the ripeness doctrine ‘prevents the courts, through avoidance of

 premature adjudication, from entangling themselves in abstract disagreements over

 administrative policies, and also protects the agencies from judicial interference until an

 administrative decision has been formalized and its effects felt in a concrete way by the

 challenging parties.’” Lacewell, 999 F.3d at 148 (quoting Nat’l Park Hosp. Ass’n v. Dep’t of


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 Interior, 538 U.S. 803, 807-808 (2003) (cleaned up)). The constitutional ripeness requirement

 “overlaps with the standing doctrine, most notably in the shared requirement that the plaintiff’s

 injury be imminent rather than conjectural or hypothetical. . . . In most cases, that a plaintiff has

 Article III standing is enough to render its claim constitutionally ripe.” In re Methyl Tertiary

 Butyl Ether (MTBE) Prods. Liab. Litig., 725 F.3d 65, 110 (2d Cir. 2013) (internal quotation

 marks, quotation, and citations omitted).

        For issues such as standing and ripeness, which determine whether this Court has subject

 matter jurisdiction, plaintiffs bear the burden of establishing that subject matter jurisdiction

 exists. MLC Fishing, Inc. v. Velez, 667 F.3d 140, 141 (2d Cir. 2011). On a motion to dismiss

 for lack of subject matter jurisdiction, the Court accepts all factual allegations in the complaint as

 true. Atl. Mut. Ins. Co. v. Balfour Maclaine Int’l Ltd., 968 F.2d 196, 198 (2d Cir. 1992). The

 Court “may also rely on evidence outside the complaint.” Cortlandt St. Recovery Corp. v. Hellas

 Telecomm., S.a.r.l., 790 F.3d 411, 417 (2d Cir. 2015) (citation omitted). The Supreme Court has

 stated that the standing inquiry is “especially rigorous when reaching the merits of the dispute

 would force [a court] to decide whether an action taken by one of the other two branches of the

 Federal Government was unconstitutional.” Raines v. Byrd, 521 U.S. 811, 819-20 (1997)

 (citations omitted).

        Plaintiffs allege harm from Secretary Noem’s “partial vacatur” of the July 2024

 extension, which shortened Haiti’s TPS designation from February 3, 2026, to August 3, 2025.

 Notably, plaintiffs do not (nor could they) contend that Secretary Noem lacks the authority to

 terminate Haiti’s TPS designation pursuant to the TPS statute. In other words, if Secretary

 Noem had, in accordance with 8 U.S.C. § 1254a(b)(3), “review[ed] the conditions in” Haiti

 “after consultation with appropriate agencies of the Government” at least 60 days before




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 February 3, 2026, determined that Haiti “no longer continues to meet the conditions for

 designation,” and “publish[ed] notice in the Federal Register of the determination . . . (including

 the basis for the determination),” which would have become effective either “60 days after the

 date the notice [was] published” or on February 3, 2026, whichever was later, plaintiffs would

 not be harmed. Thus, this Court’s analysis of standing and ripeness is limited to the harms

 plaintiffs allege from Secretary Noem’s shortening of the July 2024 extension from February 3,

 2026, to August 3, 2025, not the ultimate termination of Haiti’s TPS designation.

        Plaintiffs allege that:

        The . . . fact that now Haiti’s TPS designation could (and almost certainly will)
        end on August 3 leaves Plaintiffs with only half the time that they previously had
        to prepare for possible repatriation. Plaintiffs . . . must start planning now if they
        have any hope of managing and surviving a possible return to Haiti. Were it not
        for the “partial vacatur,” Plaintiffs would have six additional months to make the
        difficult if not impossible arrangements and difficult if not impossible decisions
        that they must make.

 Specifically, plaintiffs “now have less than [three] months to organize transportation to Haiti;

 locate housing in which they can live upon their return; seek jobs with which they can support

 themselves after returning; arrange medical care to treat existing conditions and those they are

 likely to contract in Haiti; and secure reliable sources of food.” They must also, “in that same

 rapidly vanishing time,” “make an impossible choice between taking their U.S.-citizen children

 to Haiti where they would immediately become targets for kidnapping and murder, or leaving

 them in the United States, where they would not be able to fend for themselves.” Thus, plaintiffs

 argue, their “injuries are not just imminent – they are already occurring.”

        The Government argues that the above harms do not confer standing because of the

 temporary nature of TPS, which means that “the termination of a country’s TPS designation is a

 possibility beneficiaries must always expect.” As discussed above, the Court agrees that




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 plaintiffs would not have standing to challenge a lawful termination of TPS made pursuant to the

 statute. Here, however, as the Government itself explains, Secretary Noem “moved up the end

 date of Haiti’s latest extension and redesignation for TPS by six months.” That is the root of

 plaintiffs’ harm, not any eventual termination of Haiti’s TPS designation made in accordance

 with the law.

        When the Government confers a benefit over a fixed period of time, a beneficiary can

 reasonably expect to receive that benefit at least until the end of that fixed period. See Mathews

 v. Eldridge, 424 U.S. 319, 332 (1976) (collecting cases). It follows, then, “[w]here a TPS

 extension is given, it creates important reliance interests.” Nat’l TPS All. v. Noem, No. 25-cv-

 1766, 2025 WL 957677, at *32 (N.D. Cal. March 31, 2025) (footnote omitted). “Indeed, the

 TPS statute itself implicitly recognizes the importance of such reliance interests because it . . .

 builds in some delay before termination of TPS becomes effective: termination does not take

 effect until the later of 60 days from the date of notice or the expiration of the most recent

 previous extension.” Id. (citing 8 U.S.C. § 1254a(b)(3)(B)). The Supreme Court has also

 recognized that immigration programs, even if temporary in nature, can confer legally cognizable

 reliance interests on beneficiaries of those programs. See Dep’t of Homeland Sec. v. Regents of

 the Univ. of California, 591 U.S. 1 (2020) (finding recission of DACA in violation of the APA in

 part because the acting Secretary of Homeland Security did not assess reliance interests on the

 program, even though “the DACA Memorandum stated that the program ‘conferred no

 substantive rights’ and provided benefits only in two-year increments” (quotation and citations

 omitted)).

        Here, too, plaintiffs have evinced a reliance interest in Haiti maintaining its TPS

 designation until February 3, 2026. Plaintiffs have enrolled in schools, taken jobs, and begun




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 courses of medical treatment in the United States in reliance on Haiti’s TPS designation lasting

 until at least February 3, 2026. Assuming for the purposes of standing that plaintiffs are right on

 the merits 2 and that Secretary Noem’s partial vacatur was unlawful, plaintiffs’ reliance interest in

 Haiti’s TPS designation lasting until February 3, 2026, has been harmed. This is sufficient to

 establish an injury in fact.

          Moreover, this injury is plainly traceable to the challenged conduct: Secretary Noem’s

 partial vacatur of Haiti’s TPS designation such that it will expire on August 3, 2025, instead of

 February 3, 2026. And this injury will be redressed by a favorable judicial decision. If the Court

 grants plaintiffs’ requested relief, thus finding that Secretary Noem’s partial vacatur is subject to

 review by this Court, is unlawful, and must be set aside, then plaintiffs will be able to once again

 rely on the existence of Haiti’s TPS designation until at least February 3, 2026.

          Plaintiffs’ injury, as articulated above, is also ripe for judicial review. Plaintiffs’ reliance

 on Haiti’s TPS designation lasting until at least February 3, 2026, has been destroyed: as a result

 of Secretary Noem’s partial vacatur, she has terminated Haitit’s TPS designation, effective five

 months earlier than plaintiffs understood to be possible, requiring plaintiffs to prepare five

 months earlier than expected to leave the United States. Thus, their injury is occurring now.

          Because plaintiffs have standing and their injury is ripe for review, the Government’s

 motion to dismiss is denied on those grounds, and I proceed to the merits.

 II.      Plaintiffs’ Motion for Partial Summary Judgment

          Plaintiffs move for partial summary judgment on two issues: whether this Court has

 authority to review Secretary Noem’s partial vacatur of Haiti’s TPS designation, and whether


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  “[I]n reviewing the standing question, a court must be careful not to decide the questions on the merits for or
 against the plaintiff, and must therefore assume that on the merits the plaintiffs would be successful in their claims.”
 The Intercept Media, Inc. v. OpenAI, Inc., ---- F. Supp. 3d. ----, 2025 WL 556019 (S.D.N.Y. Feb. 20, 2025) (quoting
 City of Waukesha v. EPA, 320 F.3d 228, 235 (D.C. Cir. 2003) (per curiam)).



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  Secretary Noem exceeded her authority in partially vacating Haiti’s TPS designation. Rule 56 of

  the Federal Rules of Civil Procedure provides that partial summary judgment is warranted where

  the “movant shows that there is no genuine dispute as to any material fact and the movant is

  entitled to judgment as a matter of law.” Fed. R. Civ. P. 56(a). The court must view all facts in

  the light most favorable to the nonmoving party. See Anderson v. Liberty Lobby, Inc., 477 U.S.

  242, 255 (1986) (citing Adickes v. S. H. Kress & Co., 398 U.S. 144, 158-59 (1970)). There is no

  genuine issue of material fact “where the record taken as a whole could not lead a rational trier of

  fact to find for the non-moving party.” Lovejoy-Wilson v. NOCO Motor Fuel, Inc., 263 F.3d

  208, 212 (2d Cir. 2001) (quoting Matsushita Elec. Indus. Co. v. Zenith Radio Corp., 475 U.S.

  574, 587 (1986) (cleaned up)).

         A.      Availability of Judicial Review

         The Government asserts two statutory grounds for its argument that, regardless of

  plaintiffs’ standing and the ripeness of their claims, this Court lacks the ability to review

  Secretary Noem’s partial vacatur pursuant to 5 U.S.C. § 706(2): 8 U.S.C. § 1254a(b)(5)(A) and 8

  U.S.C. § 1252(f)(1). Plaintiffs move for summary judgment on their argument that neither of

  these statutes prevents this Court from reviewing Secretary Noem’s partial vacatur of Haiti’s

  TPS designation.

                 1.      8 U.S.C. § 1254a(b)(5)(A)

         Section 1254a(b)(5)(A) of Title 8 provides that “[t]here is no judicial review of any

  determination of the [Secretary of Homeland Security] with respect to the designation, or

  termination or extension of a designation, of a foreign state” for TPS. 8 U.S.C. §

  1254a(b)(5)(A). However, this subsection does not prevent courts from reviewing and setting

  aside agency action that is procedurally deficient. As another judge of this Court has previously

  held, “it is clear from context that the judicial review provision in the TPS statute refers to an


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  individual designation, termination, or extension of a designation with respect to a particular

  country, not to Defendants’ determination practices or adoption of general policies or practices

  employed in making such determinations.” Saget v. Trump, 345 F. Supp. 3d 287, 295 (E.D.N.Y.

  2018) (citing McNary v. Haitian Refugee Ctr., 498 U.S. 479, 492 (1991); Reno v. Catholic Soc.

  Servs., Inc., 509 U.S. 43, 55 (1993)).

         “[T]here is a strong presumption that administrative actions are reviewable in federal

  court. . . . The presumption in favor of judicial review may be overcome ‘only upon a showing

  of clear and convincing evidence of contrary legislative intent.’” Id. at 294 (citing Bowen v.

  Mich. Acad. of Family Physicians, 476 U.S. 667, 670 (1986), and quoting Sharkey v.

  Quarantillo, 541 F.3d 75, 84 (2d Cir. 2008)). Here, the only legislative intent evinced is the

  unavailability of judicial review of “the underlying considerations and reasonings employed by

  the Secretary in reach[ing] her country-specific TPS determinations.” Nat’l TPS All., 2025 WL

  957677 at *15 (quotation omitted). Thus, § 1254a(b)(5)(A) “does not apply to, e.g., a pattern or

  practice that is collateral to and distinct from the specific [country] TPS designations and their

  underlying rational.” Id. (internal quotation marks, quotation, and footnote omitted); see also

  Reno v. Catholic Soc. Servs., Inc., 509 U.S. at 55 (statute barring judicial review of “a

  determination” does not “preclude[ ] [an] action challenging the legality of a regulation”); accord

  CASA de Maryland, Inc. v. Trump, 355 F. Supp. 3d 307, 321 (D. Md. 2018); Centro Presente v.

  U.S. Dep’t of Homeland Sec., 332 F. Supp. 3d 393, 409 (D. Mass. 2018); Ramos v. Nielsen, 321

  F. Supp. 3d 1083, 1101-08 (N.D. Cal. 2018), vacated sub nom. Ramos v. Wolf, 975 F.3d 872

  (9th Cir. 2020), vacated, 59 F.4th 1010 (9th Cir. 2023) (granting en banc rehearing), appeal

  dismissed, 2023 WL 4363667 (9th Cir. 2023).




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            Because “[t]he presumption in favor of judicial review may be overcome only upon a

  showing of ‘clear and convincing evidence’ of a contrary legislative intent,” Saget, 345 F. Supp.

  3d at 294 (internal quotation marks and quotation omitted), and there is no indication that §

  1254a(b)(5)(A) applies to the review of procedures followed in making TPS decisions, this

  provision does not prevent judicial review of the procedures Secretary Noem followed (or did

  not follow) in partially vacating Haiti’s TPS designation.

         The Government argues that Secretary Noem’s partial vacatur of Haiti’s TPS designation

  is a “single, country-specific determination to shorten Haiti’s TPS designation, not some general

  policy or practice,” and “the statute shields from judicial scrutiny specific TPS designations and

  their underlying rationale.” However, at least on this motion, plaintiffs are not challenging the

  “underlying rationale” of the partial vacatur; they are challenging Secretary Noem’s authority to

  partially vacate Haiti’s TPS designation. Plaintiffs’ arguments do “not dictate how the Secretary

  should ultimately rule on a TPS designation, termination, or extension.” Nat’l TPS All., 2025

  WL 957677 at *17. If plaintiffs prevail, Secretary Noem will still be free to make a

  determination about Haiti’s TPS designation; the only caveat is that she will have to make that

  determination based on the statutorily prescribed timeline, which sets the next available date for

  termination of Haiti’s TPS designation as February 3, 2026. In other words, the substance of

  Secretary Noem’s decision will remain at her discretion, but she will have to follow the

  procedures set forth in the TPS statute. Clearly, then, plaintiffs are challenging the procedures

  Secretary Noem followed (or ignored), not the substance of her decision, which 8 U.S.C. §

  1254a(b)(5)(A) shields from judicial review.

                 2.      8 U.S.C. § 1252(f)(1)

         The next provision at issue states that “[r]egardless of the nature of the action or claim




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  . . . no court (other than the Supreme Court) shall have jurisdiction or authority to enjoin or

  restrain the operation of the provisions of part IV of this subchapter . . . other than with respect

  to the application of such provisions to an individual alien against whom proceedings . . . have

  been initiated.” 8 U.S.C. § 1252(f)(1) (emphasis added). The Government argues that §

  1252(f)(1)’s prohibition on judicial restraint (other than by the Supreme Court) applies not just to

  injunctions but also to any order that otherwise restrains the Secretary. An order pursuant to 5

  U.S.C. § 706(2), it argues, prevents – i.e., “enjoin[s] or restrain[s]” – the Department of

  Homeland Security from implementing the Secretary’s determination partially vacating the

  decision to extend Haiti’s TPS designation. However, “[n]o court has adopted the construction

  of § 1252(f)(1) advanced by the government. Rather, all courts that have addressed the issue

  have rejected the government’s construction of the statute.” Nat’l TPS All., 2025 WL 957677 at

  *12 (collecting cases).

         In the Supreme Court’s recent decision holding that federal courts lack the authority to

  issue universal injunctions against executive orders, Trump v. CASA, Inc., 606 U.S. ___, 2025

  WL 1773631 (June 27, 2025), it explicitly distinguished between injunctions and orders pursuant

  to 5 U.S.C. § 706(2), stating that no restraint imposed on injunctions by the decision “resolves

  the distinct question whether the Administrative Procedure Act authorizes federal courts to

  vacate federal agency action.” Id. at *8 n.10 (citing 5 U.S.C. § 706(2)). Justice Kavanaugh,

  concurring, emphasized this point: “To be sure, in the wake of the Court’s decision . . . in cases

  under the Administrative Procedure Act, plaintiffs may [still] ask a court to preliminarily ‘set

  aside’ a new agency rule.” Id. at *19 (Kavanaugh, J., concurring) (citing 5 U.S.C. § 706(2))

  (additional citations and footnote omitted).




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         In the § 1252(f)(1) context, the Supreme Court in Garland v. Aleman Gonzalez, 596 U.S.

  543, 550 (2022), held that “§ 1252(f)(1) generally prohibits lower courts from entering

  injunctions that order federal officials to take or to refrain from taking actions to enforce,

  implement, or otherwise carry out the specified statutory provisions.” In so ruling, the Court did

  “not purport to hold that § 1252(f)(1) affects courts’ ability to ‘hold unlawful and set aside

  agency action, findings, and conclusions’ under the Administrative Procedure Act.” Id. at 571

  (Sotomayor, J., concurring in part and dissenting in part) (quoting 5 U.S.C. § 706(2)). Justices

  Barrett, Thomas, Alito, and Gorsuch have also recognized that the Supreme Court has, to date,

  “avoid[ed] a position on whether § 1252(f)(1) prevents a lower court from vacating or setting

  aside an agency action under the Administrative Procedure Act.” Biden v. Texas, 597 U.S. 785,

  839 (2022) (Barrett, J., dissenting) (citing 5 U.S.C. § 706(2)).

         The Fifth Circuit, in rejecting the Government’s contention that vacatur of an action is a

  de facto enjoining or restraining of an agency enforcement action, provided a helpful

  explanation:

         There are meaningful differences between an injunction, which is a “drastic and
         extraordinary remedy,” and vacatur, which is “a less drastic remedy.” Monsanto
         Co. v. Geertson Seed Farms, 561 U.S. 139, 165 (2010). The Supreme Court has
         indicated that § 1252(f) is to be interpreted relatively narrowly. Indeed, the Court
         described § 1252(f) as “nothing more or less than a limit on injunctive relief.”
         Reno v. Am.-Arab Anti-Discrimination Comm., 525 U.S. 471, 481 (1999). And
         again, in a recent opinion, the Supreme Court reiterated this sentiment and
         additionally noted that the title of the provision – “Limit on injunctive relief” –
         clarified the “narrowness of its scope.” See Biden v. Texas, [597 U.S. at 798].
         Extending Aleman Gonzalez to vacatur is particularly dubious in light of the
         Court’s caveats.

         Additionally, a vacatur does nothing but re-establish the status quo absent the
         unlawful agency action. Apart from the constitutional or statutory basis on which
         the court invalidated an agency action, vacatur neither compels nor restrains
         further agency decision-making. We decline to extend Aleman Gonzalez to such
         judicial orders, especially when doing so would be contrary to the “strong
         presumption favoring judicial review of administrative action.” Salinas v. U.S.



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          R.R. Ret. Bd., ––– U.S. ––––, 141 S. Ct. 691, 698 (2021).

  Texas v. United States, 40 F.4th 205, 219 (5th Cir. 2022) (footnote omitted), overruled on other

  grounds, United States v. Texas, 143 S. Ct. 1964 (2023).

          Orders pursuant to 5 U.S.C. § 706(2) set aside unlawful agency actions without

  foreclosing future agency actions. These orders are different in nature from injunctions, which

  prohibit an agency from taking a certain action at all, ever. Given these differences and the

  Supreme Court’s narrow construction of 8 U.S.C. § 1252(f)(1), see Reno v. Am.-Arab Anti-

  Discrimination Comm., 525 U.S. at 481 (“By its plain terms, and even by its title, that provision

  is nothing more or less than a limit on injunctive relief.”), it is clear that orders pursuant to 5

  U.S.C. § 706(2) are not prohibited by 8 U.S.C. § 1252(f)(1).

          Accordingly, this Court has authority to review Secretary Noem’s partial vacatur and

  provide the relief sought by plaintiffs pursuant to § 706(2).

          B.      Scope of Authority

          Plaintiffs next argue for summary judgment on their claim that Secretary Noem exceeded

  her authority in partially vacating Haiti’s TPS designation.

          The Government does not contend that Secretary Noem had statutory authority to

  partially vacate Haiti’s TPS designation. Instead, it asserts that she was “exercising her inherent

  authority under the INA.” According to the Government, courts have long recognized that an

  administrative agency has inherent authority to reconsider and change a decision within a

  reasonable period if Congress has not foreclosed this authority by requiring other procedures.

  See Gun South, Inc. v. Brady, 877 F.2d 858, 862 (11th Cir. 1989) (“[T]he Supreme Court and

  other courts have recognized an implied authority in other agencies to reconsider and rectify

  errors even though the applicable statute and regulations do not expressly provide for such

  reconsideration.”); Albertson v. FCC, 182 F.2d 397, 399 (D.C. Cir. 1950) (“The power to


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  reconsider is inherent in the power to decide.”). This is especially appropriate here, the

  Government argues, because when the Executive Branch acts in the field of foreign policy

  “pursuant to an express or implied authorization of Congress, [its] authority is at its maximum,

  for it includes all that [it] possesses in [its] own right plus all that Congress can delegate.”

  Youngstown Sheet and Tube Co. v. Sawyer, 343 U.S. 579, 635 (1952) (Jackson, J., concurring).

  The Government recognizes that the TPS statute contains temporal limits and requirements, but

  it argues that none of them foreclose the Secretary’s inherent authority to reconsider the length of

  a TPS extension.

          The cases the Government itself cites demonstrate that there is inherent authority to

  reconsider a decision, but only where there is no “contrary legislative intent or other affirmative

  evidence.” Chao v. Russell P. Le Frois Builder, Inc., 291 F.3d 219, 229 n.9 (2d Cir. 2002)

  (internal quotation marks and quotations omitted); see also The Last Best Beef, LLC v. Dudas,

  506 F.3d 333, 340 (4th Cir. 2007) (holding that the USPTO had inherent authority to cancel or

  suspend its previous decisions because the relevant statute was silent as to cancellation and

  suspension); Macktal v. Chao, 286 F.3d 822, 825-26 (5th Cir. 2002) (“it is generally accepted

  that in the absence of a specific statutory limitation, an administrative agency has the inherent

  authority to reconsider its decisions.” (emphasis added) (collecting cases)); Gun South, Inc., 877

  F.2d at 862 (holding that there was an inherent authority to reconsider because it did not

  “interpret [the applicable statute] so broadly [as to] expressly prohibit[ ]” reconsideration);

  Albertson, 182 F.2d at 399 (“The power to reconsider is inherent in the power to decide . . . in

  the absence of any specific limitation,” also referred to as “in the absence of statutory

  prohibition” (emphasis added)).




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         Here, there is such a “contrary legislative intent.” Section 1254a(b)(3) provides

  procedures for “periodic review” of a TPS designation, prescribing that:

         (A) Periodic review. At least 60 days before end of the initial period of
            designation, and any extended period of designation, of a foreign state (or part
            thereof) under this section the [Secretary of Homeland Security], after
            consultation with appropriate agencies of the Government, shall review the
            conditions in the foreign state (or part of such foreign state) for which a
            designation is in effect under this subsection and shall determine whether the
            conditions for such designation under this subsection continue to be met. The
            [Secretary] shall provide on a timely basis for the publication of notice of each
            such determination (including the basis for the determination, and, in the case
            of an affirmative determination, the period of extension of designation under
            subparagraph (C)) in the Federal Register.

         (B) Termination of designation. If the [Secretary] determines under subparagraph
             (A) that a foreign state (or part of such foreign state) no longer continues to
             meet the conditions for designation under paragraph (1), the [Secretary] shall
             terminate the designation by publishing notice in the Federal Register of the
             determination under this subparagraph (including the basis for the
             determination). Such termination is effective in accordance with subsection
             (d)(3), but shall not be effective earlier than 60 days after the date the notice is
             published or, if later, the expiration of the most recent previous
             extension under subparagraph (C).

     8 U.S.C. § 1254a(b)(3).

         The statute provides specific instructions for how to reconsider a TPS designation, and it

  provides a timeline for doing so. Cf. Nat’l TPS All. v. Noem, 2025 WL 957677, at *31 (no

  inherent authority to terminate TPS designation because “[t]he TPS statute is specifically

  prescriptive as to the time frame within which a TPS designation may be terminated.” (citing 8

  U.S.C. § 1254a(b)(3)(B))). The Secretary of Homeland Security may not publish a termination

  of a TPS designation that becomes effective before 60 days after the publication of notice in the

  Federal Register, or “the expiration of the most recent previous extension,” whichever is later. 8

  U.S.C. § 1254a(b)(3)(B). In other words, Secretary Noem cannot reconsider Haiti’s TPS

  designation in a way that takes effect before February 3, 2026, the expiration of the most recent


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  previous extension. The legislative provision of a specific procedure for reconsideration of a

  TPS designation precludes Secretary Noem from reconsidering a TPS designation pursuant to

  other procedures (or no procedures at all), including by partial vacatur. Cf. Macktal, 286 F.3d at

  825-26 (only “in the absence of a specific statutory limitation [does] an administrative agency

  has the inherent authority to reconsider its decisions.” (collecting cases)).

         Because Secretary Noem does not have statutory or inherent authority to partially vacate

  a country’s TPS designation, her partial vacatur must be set aside as unlawful under the APA.

  See 5 U.S.C. §§ 706(2)(A), (C). Plaintiffs’ motion for partial summary judgment is granted.

  III.   Plaintiffs’ Motion for Postponement of Agency Action

         This decision on plaintiffs’ motion for partial summary judgment does not completely

  resolve the case. Plaintiffs bring other claims, including that the partial vacatur is arbitrary and

  capricious in violation of the APA, violates due process, and violates the equal protection clause.

  Thus, plaintiffs move to postpone Secretary Noem’s partial vacatur pending final resolution of

  the case pursuant to 5 U.S.C. § 705.

         As discussed above, 5 U.S.C. § 705 provides that courts reviewing agency actions “may

  issue all necessary and appropriate process to postpone the effective date of an agency action or

  to preserve status or rights pending conclusion of the review proceedings” “to the extent

  necessary to prevent irreparable injury.” An order pursuant to 5 U.S.C. § 705 simply postpones

  an agency action until the completion of a case. Unlike an injunction, it “does nothing but re-

  establish the status quo absent the unlawful agency action,” and it “neither compels nor restrains

  further agency decision-making.” Texas v. United States, 40 F.4th at 219.

         A.      Availability of Judicial Review

         The Government argues that, in addition to blocking judicial review under § 706(2), 8

  U.S.C. §§ 1254a(b)(5)(A) and 1252(f)(1) also bar plaintiffs’ motion for postponement.


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         For the same reasons discussed in the § 706(2) context, the Government’s §

  1254a(b)(5)(A) argument fails. Plaintiffs move for a postponement pursuant to 5 U.S.C. § 705

  based on the same arguments as their motion for partial summary judgment pursuant to 5 U.S.C.

  § 706(2). Accordingly, the § 705 motion also challenges the procedures Secretary Noem

  followed (or didn’t follow) in partially vacating Haiti’s TPS designation, not the substance of her

  decision, which is what 8 U.S.C. § 1254a(b)(5)(A) shields from judicial review. And, as above,

  the Supreme Court has distinguished between preliminary injunctions and orders pursuant to 5

  U.S.C. § 705, such that 8 U.S.C. § 1252(f)(1) does not apply. See Trump v. CASA, 2025 WL

  1773631 at *19 (Kavanaugh, J., concurring) (“plaintiffs may [still] ask a court to preliminarily

  ‘set aside’ a new agency rule” (citing West Virginia v. EPA, 577 U.S. 1126 (2016), a case

  involving § 705) (other citations and footnote omitted)).

         In addition to the arguments related to 8 U.S.C. § 1252(f)(1) dispensed with above, the

  Government argues, specific to plaintiffs’ motion pursuant to 5 U.S.C. § 705, that “any

  preliminary relief here would still be a preliminary injunction because § 705 does not authorize

  relief here:” the partial vacatur “has already taken effect, so it cannot be postponed under § 705.”

  However, plaintiffs are “seeking . . . postponement of the impact of the vacatur decision – i.e.,

  the actual termination of the . . . TPS Designation. As the actual termination . . . has not yet gone

  into effect,” plaintiffs are seeking postponement of the effective date of agency action. Nat’l

  TPS All., 2025 WL 957677, at *18 (footnote omitted).

         Moreover, courts “routinely stay already-effective agency action under Section 705.”

  Texas v. Biden, 646 F. Supp. 3d 753, 770 (N.D. Tex. 2022) (collecting cases). This is because

  the language of 5 U.S.C § 705 includes authority for the courts “to postpone the effective date of

  an agency action or to preserve status or rights pending conclusion of the review proceedings.”




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  (emphasis added). The Government argues that “[a]n order staying a policy after it has already

  gone into effect . . . does not preserve the status quo, but alters it.” “This argument, however, is

  without merit because, traditionally, the ‘status quo’ to be restored is the last peaceable

  uncontested status existing between the parties before the dispute developed.” Nat’l TPS All.,

  2025 WL 957677, at *19 (quoting Texas v. Biden, 646 F. Supp. 3d at 771, and citing Boardman

  v. Pac. Seafood Grp., 822 F.3d 1011, 1024 (9th Cir. 2016)) (cleaned up). “Here, the last

  uncontested status that preceded the pending controversy was the state of the TPS designation[ ]

  at the time Secretary Mayorkas extended [Haiti’s] Designation . . . i.e., before Secretary Noem

  took the contested action of [partially] vacating the extension.” Id.

         The Government also asserts that plaintiffs are precluded from seeking (and receiving) a

  postponement of agency action based on 5 U.S.C. § 701(a)(2), which states that the APA’s

  provisions do not apply to “agency action . . . committed to agency discretion by law.” This

  limitation on the APA applies “in those rare circumstances where the relevant statute is drawn so

  that a court would have no meaningful standard against which to judge the agency’s exercise of

  discretion.” Lincoln v. Vigil, 508 U.S. 182, 191 (1993) (internal quotation marks, quotation, and

  citations omitted). The Government contends that such a rare circumstance exists as to the

  Secretary of Homeland Security’s “determination as to what constitutes the national interest.”

  That may be true. But here, plaintiffs are not challenging a national security determination.

  Rather, they are challenging Secretary Noem’s partial vacatur as in excess of her authority.

  Construing the TPS statute to determine whether it allows for a partial vacatur “does not require

  courts to adjudicate the wisdom of the [Secretary’s] foreign policy and national security

  decisions.” J.A.V. v. Trump, ---- F. Supp. 3d. ----, 2025 WL 1257450, at *10 (S.D. Tex. May 1,

  2025). If this Court were to consider the merits of a Secretary of Homeland Security’s findings




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  as to whether permitting aliens to remain temporarily in the United States was contrary to the

  United States’ national interest, a different analysis would be required. But because plaintiffs do

  not raise such a challenge, § 701(a)(2) does not preclude the availability of § 705.

          B.      Application of 5 U.S.C. § 705

          “The standard for a stay under 5 U.S.C. § 705 is the same as or similar to the standard for

  a preliminary injunction.” Rural & Migrant Ministry v. EPA, 565 F. Supp. 3d 578, 595

  (S.D.N.Y. 2020) (citing Bauer v. DeVos, 325 F. Supp. 3d 74, 104-05 (D.D.C. 2018)). “As the

  Second Circuit put it years ago, a ‘stay of an order of an administrative agency may be granted

  when the following conditions are met: (a) Where the petitioner is likely to prevail on the merits

  of its appeal; (b) Where the petitioner has shown that without a stay it will suffer irreparable

  injury; (c) Where there is no substantial harm to other interested persons; and (d) Where the

  public interest will not be harmed.’” Id. (quoting E. Air Lines v. Civil Aeronautics Bd., 261 F.2d

  830, 830 (2d Cir. 1958)). “When the injunction would affect government action taken pursuant

  to a regulatory scheme, the plaintiff must show a ‘clear or substantial’ likelihood of success on

  the merits.” Id. (quoting Sussman v. Crawford, 488 F.3d 136, 140 (2d Cir. 2007)).

          The above grant of plaintiffs’ partial summary judgment motion easily disposes of the

  first condition, that plaintiffs are likely to prevail on the merits. Plaintiffs are likely to (and,

  indeed, do) succeed on the merits. Secretary Noem’s partial vacatur was in excess of her

  authority and was thus unlawful.

          Plaintiffs have also shown that they will suffer irreparable injury without postponement.

  “Irreparable harm is ‘injury that is neither remote nor speculative, but actual and imminent and

  that cannot be remedied by an award of monetary damages.’” New York ex rel. Schneiderman

  v. Actavis PLC, 787 F.3d 638, 660 (2d Cir. 2015) (quotation omitted). As discussed above in the

  analysis of plaintiffs’ standing and the ripeness of their claims, plaintiffs’ alleged injuries are


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  actual and imminent. They cannot be remedied by an award of money damages. If the partial

  vacatur remains in effect until the final resolution of this case, plaintiffs will lose their right to

  live and work in the United States based on what the Court has already found was an unlawful

  action. Even before Secretary Noem’s termination goes into effect, plaintiffs are currently being

  (and will continue to be) impacted by the partial vacatur’s removal of TPS protection, having to

  prepare to lose their rights five months earlier than they thought legally possible.

          Postponement would not harm the public interest. The Government argues that “[a]

  decision to grant injunctive relief would interfere with the Secretary’s foreign relations activities

  to ensure tens of thousands of noncitizens whose presence is contrary to the national interest or

  who no longer require temporary protection are able to comply with their legal obligation to

  depart at the end of the designation period, rather than months later.” But this Court is not

  granting injunctive relief. The Secretary remains free to terminate TPS status for any country

  pursuant to the statutorily prescribed procedures Congress has enacted. Moreover, “the

  perpetuation of unlawful agency action is not in the public interest.” Saget, 375 F. Supp. 3d at

  377 (citations omitted).

          Balancing the equities, plaintiffs’ injuries far outweigh any harm to the Government from

  a postponement. Without a postponement, plaintiffs face the termination of Haiti’s TPS

  designation on September 2, 2025 and the subsequent loss of their legal right to live and work in

  the United States, despite this Court’s finding that Secretary Noem’s partial vacatur of Haiti’s

  TPS designation was unlawful. Other than the Executive Branch’s right to engage in foreign

  relations activities and enforce the nation’s immigration laws within the bounds Congress has

  set, which remains intact, the Government identifies no other harms to the public interest, other




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  interested people, or the Government itself that would result from the postponement of Secretary

  Noem’s partial vacatur.

         Plaintiffs’ motion for postponement pursuant to 5 U.S.C. § 705 is thus granted.

  IV.    Plaintiffs’ Remaining Claims

         Having granted plaintiffs’ motion to set aside Secretary Noem’s partial vacatur and to

  postpone the partial vacatur until the conclusion of this case, it appears that plaintiffs have

  received all of the relief they seek. However, plaintiffs’ claims that the partial vacatur was

  arbitrary and capricious, violated plaintiffs’ due process rights, and violated the equal protection

  clause remain. Thus, the Court defers ruling on the Government’s motion to dismiss these

  claims, and plaintiffs are ordered to show cause why their remaining claims should not be

  dismissed as moot. See Anobile v. Pelligrino, 303 F.3d 107, 123 (2d Cir. 2002) (after finding

  that the action challenged by plaintiffs was unconstitutional, declining to reach plaintiffs’ other

  arguments on constitutionality); Saget, 375 F. Supp. 3d at 366 n.24 (same).

                                            CONCLUSION

         For the foregoing reasons, plaintiffs’ motions for partial summary judgment and for

  postponement of agency action are granted. The Government’s motion to dismiss is denied in

  part. Plaintiffs are ORDERED TO SHOW CAUSE within 14 days why their remaining claims

  should not be dismissed as moot.

  SO ORDERED.

                                                 ___________________________________
                                                               U.S.D.J.

  Dated: Brooklyn, New York
         July 1, 2025




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